 

                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF DELAWARE

    MAI-AJAH KEEL;                                   §    
                                                     §    
                     Plaintiff,                      §
                                                     §    
                                                     §   Case No.: 17‐cv‐01818‐MN 
                                                     §    
    v.                                               §    
                                                     §    
    DELAWARE STATE UNIVERSITY                        §
    BOARD OF TRUSTEES; CANDY                         §
    YOUNG, in her individual capacity;               §
                                                     §
    PAULA DUFFY, in her individual                   §
    capacity; and RANDOLPH JOHNSON, in               §
    his individual capacity                          §
                                                     §
                     Defendants.                     §
                                                     §
     


                                  COMPLAINT AND JURY DEMAND

            Plaintiff Mai-Ajah Keel, through her attorneys, submits this Complaint and states the

following:

                                    PARTIES AND JURISDICTION

         1. Defendant Delaware State University Board of Trustees (“Trustees”) is the official
            governing body of Delaware State University (“Delaware State”) and is charged with

            operating and governing Delaware State, a public university located in Dover, Delaware.

         2. Defendant Candy Young was at all times relevant, the Director of the Title IX Office at

            Delaware State. Plaintiff is informed and believes and thereon alleges that as the Director

            of the Title IX Office, Defendant Candy Young was responsible for participating in

            making, communicating, enforcing and implementing all policies and practices at

            Delaware State with respect to Title IX, including insuring Delaware State’s policies and

            procedures concerning Title IX comply with federal law.

         3. Defendant Paula Duffy is, and was at all times relevant, the Director of the Office of

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       Judicial Affairs at Delaware State. Plaintiff is informed and believes and thereon alleges

       that as the Director of the Office of Judicial Affairs, Defendant Paula Duffy is responsible

       for overseeing the enforcement of Delaware State policies, regulations, and rules, including

       but not limited to compliance with the Student Code of Conduct, as well as implementing

       and overseeing any judicial proceedings relative to alleged violations of Delaware State

       policies, regulations, and rules and sanctions issued by the judicial body.

    4. Defendant Randolph Johnson is, and was at all times relevant, the Director of Bands at

       Delaware State. Plaintiff is informed and believes and thereon alleges that as the Director

       of Bands at Delaware State, Defendant Randolph Johnson is responsible for overseeing all

       band activities at Delaware State including providing supervision, direction, and insuring

       the safety of all band participants.

    5. Plaintiff Mai-ajah Keel (“Keel”) was, at all times relevant, a student at Delaware State.

    6. Delaware State receives federal financial assistance and is therefore subject to the dictates

       of 20 U.S.C. § 1681. (“Title IX”)

    7. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1331.

    8. Venue in this Court is proper under 28 U.S.C. § 1391 (b) because the events giving rise to

       this claim took place in this judicial district, and Defendants reside in this judicial district.



                         Background Facts Related to Plaintiff Mai-ajah Keel

    9. Keel enrolled at Delaware State in the fall of 2011 as an 18-year-old freshman.

    10. Delaware State awarded Keel a scholarship to participate in the Delaware State marching

       band, where she became acquainted with fellow Delaware State student and marching band

       member, Jason Faustin (“Faustin”).

    11. Faustin served in a leadership role within the marching band, as well as a Residential

       Assistant and Junior Class President for Delaware State.

    12. Beginning in September of 2012, Faustin began pursuing Keel sexually. Faustin regularly


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       engaged in harassing behavior towards Keel. He made sexually aggressive and offensive

       statements such as “I want to eat you out,” oftentimes at a whisper. Keel repeatedly

       expressed to Faustin that she was not interested in him and that she only wished to be

       friends, yet Faustin’s sexual advances persisted.

    13. On or about the evening of Friday, November 22, 2013, the Delaware State marching band

       completed a performance and Keel visited Faustin’s residence at a residential dorm on the

       Delaware State campus along with two other band members at Faustin’s insistence.

       Faustin provided alcoholic beverages to Keel and the other two band members.

    14. After approximately an hour and a half, Faustin indicated he needed to go to the front desk

       of the residential dorm to begin his shift as Residential Assistant. Keel intended to leave

       with her other two friends. However, Faustin insisted that Keel remain behind for a couple

       of minutes ostensibly so he could apologize for his previous sexually aggressive behavior.

       The two other band members left Faustin’s residence to pick up another friend, intending

       to return to pick up Keel.

    15. After her friends left, Keel accompanied Faustin down to the residential dorm front desk,

       where Faustin apologized for his previous behavior. Faustin then ordered pizza and went

       to the main entrance to get it. Keel decided she wanted to go home to sleep as the band

       had another performance the following day and called her friends and told them they no

       longer needed to pick her up as she was going home. When Faustin returned, he shared

       the pizza with Keel and she informed him she was leaving but needed to retrieve some

       personal items she inadvertently left in his dorm room.

    16. Once Keel was back in Faustin’s dorm room, Faustin came in and surprised Keel. He

       forcefully pinned Keel down, started ripping her clothes off and began to sexually assault

       her. Keel repeatedly said “no” and told Faustin to stop He did not stop. Eventually, Keel

       was able to kick him off her, grab her personal items, and run out the door.

    17. In the days following the incident, Keel informed another band member and mutual friend

       of her and Faustin about the sexual assault. In response, the friend informed Keel that
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       Faustin had a problem and this was not the first time he had done something like this.

    18. The following Monday, Keel reported the sexual assault to Dr. Brian Stark, a professor of

       criminology at Delaware State. Keel described her sexual assault to Dr. Stark, who referred

       Keel to Dr. Kylee Parrotta, an assistant professor in the sociology and criminal justice

       department at Delaware State. Keel again described her sexual assault to Dr. Parrotta, who

       in turn referred her to Dr. Pauline Meek in the counseling services department at Delaware

       State.

    19. Upon meeting with Dr. Meek, Keel informed her of the sexual assault as well as expressing

       her fear of encountering Faustin on campus.

    20. Delaware State failed to proceed with proper Title IX investigative and adjudicative

       procedures and instead wrongly facilitated mediation between Faustin and Keel. A couple

       of weeks after the sexual assault, Keel and Faustin met with Dr. Meek. At this meeting,

       Faustin apologized to Keel and agreed that he would no longer contact Keel, including no

       longer touching or talking to her. Dr. Meek took no further action.

    21. Delaware State wrongly ignored and otherwise failed to respond to Keel’s allegations of

       sexual assault in a timely manner. In addition to the previously mentioned Delaware State

       professors and administrators, Keel informed the Delaware State band director, Randolph

       Johnson, of the sexual assault via email on multiple occasions. In response, Mr. Johnson

       informed Keel that Delaware State lawyers instructed him not to respond to her.

    22. Delaware State failed to respond appropriately to reports of ongoing harassment. Keel

       continued to attend counseling with Dr. Meek until February 2015. During this time,

       Faustin continued to repeatedly hug, touch, and attempt to speak with, and otherwise

       contact Keel despite his promises to stop. Faustin hugged Keel at band practice on an

       almost daily basis, making Keel angry and uncomfortable. Keel repeatedly informed Dr.

       Meek of Faustin’s inappropriate and unwelcomed advances.

    23. Because Delaware State failed to timely investigate her allegations of sexual assault and

       wholly ignored her reports of ongoing harassment, Keel was left vulnerable and in fear.
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       She turned to the Delaware State University Police Department (DSUPD). On or about

       August 22, 2014 and again on or about February 4, 2015, Keel reported the rape through

       silent witness forms on the DSUPD website. Both entries were received by DSUPD. Both

       reports referenced the sexual assault that occurred on the Delaware State campus. Both

       reports identified “J. Faustin” as the perpetrator, as well as Faustin’s positions as both a

       Residential Advisor and Junior Class President. Keel is informed and believes and on the

       basis alleges that, despite a report as early as August 2014, DSUPD did not initiate an

       investigation until after the February 4th, 2015 silent witness report.

    24. Keel provided a detailed account to DSUPD of the injury perpetrated upon her by Faustin

       and his danger to students on campus. On or about February 5, 2015, Keel detailed the

       rape to DSUPD Sergeant Joi Simmons, including that she told Faustin “no” and asked him

       to stop, but he continued to assault her. Keel advised Sergeant Simmons that Faustin has

       a history of this behavior and identified five additional women who shared with her that

       they had similar experiences with Faustin. Keel also informed Sergeant Simmons that she

       had suffered both mental and emotional anguish since the sexual assault. Later that day,

       Sergeant Simmons spoke with Faustin. Sergeant Simmons informed Faustin the interview

       was in reference to a report of questionable sexual behavior, specifically rape. When asked

       if he was aware of what Sergeant Simmons was referencing, Faustin indicated there was

       an incident in November 2013 with a friend who he later identified to Sergeant Simmons

       as Keel. Faustin then voluntarily confessed to raping Keel. Faustin admitted to Sergeant

       Simmons that Keel said stop several times and he did not stop. Faustin acknowledged to

       Sergeant Simmons that he knew what he did was wrong and he always knew that there was

       a possibility he could be arrested for it. This information, including Faustin’s confession,

       was reported to the Delaware State Title IX office on February 6, 2015 at the latest. On or

       about February 19, 2015, Keel provided additional detail to DSUPD through a victim

       statement, which was memorialized in a report. Per the report, Keel indicated: “RA (J.

       Faustin) sexually assaulted me during the month of November 2013 [sic] it’s unfortunate
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       that as a student residing on campus I have to encounter this predator every day. His known

       tactics of providing females with alcoholic beverages and then stripping them of their

       clothing has haunted me and a few others for some time.” Keel also indicated: “Even with

       counseling I freeze up and ignite with anger every single time his name is mentioned, [sic]

       he walks in a room and when he awkwardly (and publicly) “hugs” me, I hate it. I

       understand people make mistakes, but I am not the first, nor am I the last person he has

       traumatized.”

    25. During the DSUPD investigation, Keel reported her concern that she had to interact with

       Faustin daily, that she continued to feel harassed by Faustin, and that her grades suffered.

       Keel shared a class with Faustin in which her grade dropped from a 90 to a 45.

    26. After speaking with Sergeant Simmons, Keel also spoke with Delaware State Title IX

       coordinator Candy Young. Keel detailed the rape and subsequent harassment she suffered

       to Ms. Young. She also informed Ms. Young of her academic struggles and that she shared

       class with Faustin. Despite this, Ms. Young failed to offer accommodations to Keel.

       Further, despite agreeing to provide Keel with a no contact order, Ms. Young never

       followed through with enacting a no contact order.

    27. Delaware State failed to respond appropriately to Keel’s reports of ongoing harassment.

       The investigation eventually resulted in Faustin’s arrest. After the arrest, several of

       Faustin’s friends repeatedly subjected Keel to ongoing harassment and retaliation;

       including making aggressive gestures and calling her derogatory names such as “hoe” and

       “bitch.” On one occasion near the band room, Keel overheard a band member encouraging

       other band members to push Keel when she walked past them. This band member then

       attempted to engage Keel in a physical altercation. Keel informed Delaware State of the

       ongoing harassment, yet Delaware State did nothing in response to protect Keel or stop the

       harassing behavior.

    28. Delaware State employees also subjected Keel to harassment and retaliation. As Keel

       struggled with the ramifications of the sexual assault and the ongoing retaliatory behavior
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       from other students, her attendance at band functions decreased. In response, Assistant

       Band Director Lenny Knight made harassing comments to Keel such as that he was tired

       of people who did not show up for band or who did not care because of “bullshit” and

       “drama.” Mr. Knight berated Keel for “making big things out of little things.” When Keel

       informed Mr. Knight about the harassing behavior of the other students, he ignored her

       concerns and made no attempt to stop the behavior.

    29. Delaware State failed to provide reasonable accommodations to Keel and made no effort

       to take any interim measures to remedy the effects of the harassment. As a result, Keel

       suffered both academic and economic consequences. Keel continued to struggle

       academically and saw a substantial drop in her grades making any hope of graduating cum

       laude, a previously achievable goal, not possible. Keel also lost her scholarship. Keel

       stopped attending band functions regularly and was unable to join a sorority on campus.

       Keel turned to drugs and alcohol as a coping mechanism and used both at a substantially

       higher rate than before the sexual assault. Through Delaware State’s investigation, prior to

       any adjudication hearings, DSUPD spoke to several other female students who indicated

       Faustin also engaged in inappropriate and unwelcome sexual conduct with them while they

       were students at Delaware State.

    30. Between approximately February 16, 2015 and February 20, 2015, DSUPD spoke with

       several female students, other than Keel, who reported that Faustin had sexually assaulted

       them, describing facts similar to Keel’s report of rape. This included at least three women

       who reported that Faustin either attempted to or actually engaged in sexual intercourse with

       them despite repeatedly telling him that they did not consent to sex. Each report described

       Faustin as persisting in his attempts to engage in sexual intercourse after they would tell

       him “no,” requiring some to have to push him off and flee. DSUPD also learned during

       this time that Faustin kept a library of pictures on his computer of women engaging in sex

       acts with him who either did not know or otherwise did not consent to their pictures being

       taken.
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    31. DSUPD also learned during these interviews that Faustin had a reputation, known to

       several of the victims and others, of engaging in similar conduct with other women. Faustin

       was known to provide alcohol to women and persistently push them into sexual intercourse.

       Then, after the fact, Faustin would be very cordial and apologetic for his actions. Through

       these interviews, DSUPD was also informed that at least one victim was fearful of reporting

       Faustin as she had seen Keel experience a great deal of backlash and retaliation from others

       as a result of coming forward.

    32. After interviewing various witnesses and victims concerning Faustin’s conduct at

       Delaware State, Sergeant Simmons reported great concern about the Delaware State

       campus environment, which Simmons felt influenced victims to refrain from cooperation

       with law enforcement. She shared this concern with Delaware State administration, citing

       retaliation experienced by Keel from the marching band, including Mr. Johnson, as

       evidence of the hostile environment that existed on the campus.

    33. Delaware State failed to provide an equitable and impartial adjudication process. In March

       of 2015, Delaware State began a series of hearings to adjudicate whether Faustin was

       responsible for the sexual assault and rape of Keel. One of the deciding members of the

       panel was Faustin’s former employer, which presented a conflict of interest.

    34. Also, Keel was not allowed to attend all of the hearings. Several of the hearings were

       scheduled during convenient times for Faustin, but during inconvenient times for Keel as

       she had exams, requiring her to miss certain hearings or parts of certain hearings. Keel

       repeatedly informed Delaware State that hearings were set during exams such as midterms

       and finals, however, scheduling accommodation was not made for Keel. Keel also missed

       other portions of hearings either due to Delaware State failing to provide her notice or

       because she was not allowed in the room during certain portions of hearings.

    35. In addition, both parties were not given equal opportunity to hear all aspects of the case

       and ask questions. While Faustin heard all of Keel’s statements, Keel was not permitted

       to hear all of Faustin’s statements. Also, Keel requested representation and/or advocacy at
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       every hearing but did not receive any; in contrast, Faustin had representation throughout

       the entire process by a Delaware State professor and lawyer.

    36. Delaware State failed to implement proper training relating to the investigation and

       adjudication of Title IX claims. The panel tasked with adjudicating the complaint against

       Faustin appeared unprepared and asked inappropriate questions. The panel was not

       presented with evidence of Faustin’s confession to the rape despite Delaware State being

       aware, prior to the beginning of the adjudication hearings, not only of Faustin’s confession,

       but also the reports of at least three other sexual assault victims of Faustin’s. Delaware

       State failed to come to a reasonably prompt resolution of Keel’s complaint. On or about

       March 31, 2015, the panel hearing the complaint found Faustin “not responsible” for the

       sexual assault, rape, and harassment of Keel. On or about April 2, 2015, Keel appealed

       this decision based on various procedural and substantive deficiencies including the failure

       to consider Faustin’s confession to the rape. Keel’s appeal and request for new hearing

       was granted on or about April 14, 2015 based on a “lack of due process, i.e. when a student

       can show an error in the hearing or arbitrariness in the finding against the weight of the

       evidence.”

    37. On or about May 11, 2015, a second panel found Faustin “responsible” for the sexual

       assault and rape of Keel. In its rationale, Delaware State indicated that, at the hearing,

       Faustin again admitted he heard Keel say “no” and “stop” more than once during the

       incident. As a result, Delaware State sanctioned Faustin by suspending him for “a

       minimum of one (1) academic year—specifically, 2015-2016.”

    38. In its rationale supporting the sanction, Delaware State indicated the following: “Having

       been found responsible for the sexual assault and rape of the complainant, the respondent

       is in violation of the General Standards of Conduct and Decorum and has exhibited violent

       behavior by sexually assaulting and raping the complainant. (Delaware State University,

       Division of Student Affairs Student Judicial Handbook, p. 5) Furthermore, the complainant

       has a right to continue her education and feel as though she is matriculating in a safe and
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       secure academic environment. The complainant is now a senior. Removing the respondent

       for at least the 2015-2016 academic year will provide the complainant with the opportunity

       to do so.”

    39. Delaware State informed Keel that Faustin would not be allowed on campus, but assured

       her that if he were to come on campus, she would be informed and provided a police escort.

    40. Despite Delaware State’s finding that Faustin had exhibited violent behavior, and despite

       being aware of multiple reports of sexual assault by Faustin from multiple victims,

       Delaware State failed to follow through with its sanction, further subjecting Keel to a

       hostile environment. In or about September of 2015, Delaware State allowed Faustin back

       on campus, Keel visited a building on campus where she regularly had class. She walked

       into her advisor’s office where she came into direct contact with Faustin who was sitting

       in the faculty member’s office as well. This unexpected contact caused Keel great shock

       and fear. Delaware State did not inform Keel of Faustin’s presence on campus, advise her

       of any change to his sanction which would have permitted him to be on campus, or offer

       any security measures to ensure her safety as promised.

    41. In violation of his purported suspension, Faustin was on campus that day, in the professor’s

       office, to take a final exam. This clearly violated the terms of the sanction, by allowing

       Faustin to continue his coursework at Delaware State while purportedly being suspended.

    42. In fact, Keel is informed and believes and on that basis alleges that Faustin was allowed to

       continue taking one or two classes up until the end of the semester on December 21, 2015.

       Keel is further informed, believes and on that basis alleges that Faustin was routinely,

       physically on campus in connection with his continued coursework, despite his purported

       suspension, up until December 21, 2015. Keel was never informed that Faustin was

       allowed to continue his studies on camps, in violation of his sanction of suspension, nor

       was she ever provided a police escort, also in violation of Delaware State’s sanction.

    43. Faustin was also often seen on campus by Keel’s friends during the Fall semester of 2015.

       On each occasion that one of Keel’s friends saw Faustin on campus, Keel’s friends called
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       Keel to inform her of his presence on campus, and exactly where he was on campus, so

       that she was able to take her safety in her own hands and avoid the areas of campus where

       Faustin was seen.

    44. In violation of Delaware State’s sanction, at no time was Keel informed when Faustin

       would be on campus, nor was she ever provided a police escort while Faustin was on

       campus.

    45. In response to Faustin’s continued presence on campus, Keel confronted both the Delaware

       State Title IX office and the Judicial Affairs office regarding Delaware State’s failure to

       adequately enforce its findings regarding the sexual assault and rape of Keel and its failure

       to adequately protect Keel. Each office denied responsibility and instructed Keel to address

       the issue with the other office. Paula Duffy, the Director of the Office of Student Judicial

       Affairs, informed Keel via email, “We apologize that you felt uncomfortable and that you

       were unaware of Mr. Faustin’s presents [sic] on campus yesterday afternoon. As The

       Office of Judicial Affairs does not manage Title IX cases any longer, we too were unaware

       that he was due to be on campus yesterday. The Office of Title IX, under Ms. Candy

       Young overseas [sic] all Title IX cases. As we informed you yesterday when you came to

       our office seeking clarity, the best place to gain a better understanding is with the Title IX

       Office directly. Again, we apologize for any trouble this may have caused and I will

       forward your email to the Office of Title IX immediately.” Similarly, Ms. Young denied

       responsibility, telling Keel in-person that the Judicial Affairs office was in charge of the

       arrangement with Faustin.

    46. Keel also informed Sergeant Simmons and Dr. Dorothy Dillard, chair and associate

       professor with Delaware State’s Department of Sociology and Criminal Justice, who, while

       acknowledging that “the process is flawed and problematic,” offered no solution. Delaware

       State failed to follow up any further with Keel regarding this incident.

    47. Delaware State’s failure to enforce the sanction imposed on Faustin coupled with its refusal

       to acknowledge responsibility for taking measures to protect Keel, subjected her to an even
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       greater hostile environment resulting in further loss of educational opportunity. Due to her

       ongoing fear for her safety and due to the increasingly hostile environment she faced at

       Delaware State, Keel isolated herself, locking herself in her room regularly and refusing to

       go to different areas of campus. Keel was constantly exposed to this sexually hostile

       environment until she graduated and left Delaware State on December 21, 2015.

    48. After failing several classes due to the emotional impact of the assault and Delaware State’s

       deliberate indifference, Keel graduated later than her originally intended graduation date

       and at a substantially lower grade point average than she was otherwise capable due to the

       sexual assault and Delaware State’s failures. As her result, her plans to attend graduate

       school were negatively impacted.

    49. After Keel graduated, Delaware State again violated its own sanction by reinstating Faustin

       on or about January 13, 2016, well before the adjudicated time period. Delaware State

       readmitted Faustin under the condition that he “abide by the Student Code of Conduct,”

       stating his past actions “were of poor judgment and not representative of the mature and

       responsible behavior we hope to develop in our Delaware State University students.”

    50. Based on information and belief, Delaware State failed to properly train and educate their

       employees, including school officials, officers, investigators, and adjudicators in

       appropriate response to allegations of sexual harassment, sexual abuse, and retaliatory

       conduct, as well as necessary Title IX policies and procedures.

    51. Delaware State failed to adequately educate Delaware State students, including but not

       limited to Faustin, on the dangers of sexual harassment, assault and retaliatory conduct,

       including but not limited to the impact of such conduct on victims.

    52. These failures, and others, amounted to an intentional violation of Title IX by Delaware

       State.

    53. Delaware State also acted with deliberate indifference towards Keel’s reports of sexual

       assault and retaliation to several different school departments as reflected by Delaware

       State’s actions and inaction alleged herein.
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    54. Based upon information and belief, Keel alleges that Delaware State did not conduct

       mandatory educational sessions or programs regarding the topics of alcohol abuse, sexual

       misconduct and or student rights and remedies under state and federal law. If in fact

       Delaware State did provide any such educational sessions or programs, they failed to

       ensure that such programs or sessions were attended by Delaware State students.

    55. As a result of Delaware State’s actions and inaction in response to Keel’s report of sexual

       assault by Faustin and the ongoing retaliation and harassment she experienced, Keel was

       deprived of a multitude of educational opportunities and/or benefits, including but not

       limited to:

              A significant drop in her grades;

              An inability to join a sorority;

              A decrease in her participation in marching band;

              Avoidance of other social activities on campus;

              Avoidance of certain areas of campus;

              A loss of her scholarship that she had earned to attend Delaware State.


                     FIRST CAUSE OF ACTION
DISCRIMINATION ON THE BASIS OF GENDER IN VIOLATION OF 20 U.S.C. § 1681
                             (TITLE IX)
                 (AGAINST DEFENDANT TRUSTEES)

    56. Plaintiff incorporates all paragraphs of this Complaint is if fully set forth herein.

    57. Trustees’ acts and failures to act perpetrated against Plaintiff amounted to unlawful sexual

       harassment and discrimination on the basis of gender. The harassment and discrimination

       was sufficiently severe and pervasive to create an abusive, and hostile educational

       environment for Plaintiff. One or more Delaware State administrators or officials, with

       authority to take corrective action on Plaintiff’s behalf, had actual notice of said harassment

       and discrimination and failed to adequately respond, in violation of their own policies.

       Those failures amounted to deliberate indifference toward the unlawful sexual conduct and


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       retaliatory conduct that had occurred, was occurring, or was likely to occur. As a result,

       Plaintiff was subject to continuing harassment and a loss of educational opportunity.

    58. Additionally, and/or in the alternative, Trustees failed to enact and/or disseminate and/or

       implement proper or adequate procedures to discover, prohibit or remedy the kind of

       discrimination that Plaintiff suffered. This failure included, without limitation, non-

       existent or inadequate customs, policies or procedures for the recognition, reporting,

       investigation and correction of unlawful discrimination, and the failure to properly vet

       students in positions of importance and influence such as Residential Assistant and Junior

       Class President. Those failures amounted to deliberate indifference toward the unlawful

       sexual conduct and retaliatory conduct that had occurred, was occurring, or was likely to

       occur. As a result, Plaintiff was subject to continuing harassment and a loss of educational

       opportunity.

    59. Trustees acted with deliberate indifference in deviating significantly from the standard of

       care outlined by the Department of Education in the Dear Colleague Letter of 2011, the

       Questions and Answers of 2014 and Trustees’ own policies.

    60. Trustees intentionally violated Title IX by remaining deliberately indifferent to a sexually

       hostile culture at Delaware State University that created a heightened risk for Plaintiff, and

       other female students, to be sexually assaulted and subject to additional sexual misconduct.

    61. Because of Trustees’ deliberate indifference, Plaintiff suffered loss of educational

       opportunities and/or benefits and has and will continue to incur attorney fees and costs of

       litigation.

    62. As a result of the above-described conduct, Plaintiff has suffered, and continues to suffer,

       great pain of mind and body, physical injury, shock, emotional distress, physical

       manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace,

       humiliation, and loss of enjoyment of life; has suffered and continues to suffer spiritually;

       was prevented and will continue to be prevented from performing Plaintiff's daily activities

       and obtaining the full enjoyment of life; has sustained and will continue to sustain loss of
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       earnings and earning capacity; and/or has incurred and will continue to incur expenses for

       medical and psychological treatment, therapy, and counseling.

                            SECOND CAUSE OF ACTION
    42 U.S.C. § 1983 -VIOLATION OF THE EQUAL PROTECTION CLAUSE OF THE
      FOURTEENTH AMENDMENT OF THE UNITED STATES CONSTITUTION

    63. Plaintiff incorporates all paragraphs of this Complaint as if fully set forth herein.

    64. At all times relevant herein, Defendants Duffy, Johnson and Knight acted under the color

       of state law, under color of their authority as agents of Delaware State University and

       within the scope of their employment with Delaware State University.

    65. Defendants Duffy, Johnson and Knight’s deliberate indifference, and willful and wanton

       behavior, created a danger of and increased the risk of harm to Plaintiff.

    66. Defendants Duffy’s, Johnson’s and Knight’s conduct was intentional, and motivated by

       gender.

    67. Defendants Duffy, Johnson and Knight violated Plaintiff’s civil rights by having a policy

       that, when enforced, caused a constitutional deprivation to Plaintiff, or by having a

       widespread practice and/or custom that, although not authorized by written law or

       express municipal policy, was so permanent and well settled as to constitute a custom or

       usage with the force of law.

    68. Defendants Duffy, Johnson and Knight knew about the above-described conduct and

       facilitated it, approved it, condoned it, and/or turned a blind eye to the conduct.

    69. The above-described conduct of Defendants Duffy, Johnson and Knight’s constitutes a

       violation of the Equal Protection Clause of the Fourteenth Amendment of the United

       States Constitution. Plaintiff is entitled to compensatory damages for physical injury,

       emotional pain, suffering, mental anguish and other non-pecuniary losses.




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                                      RELIEF REQUESTED

        WHEREFORE, Plaintiff prays for damages; punitive damages; costs; interest;

    statutory/civil penalties according to law; attorneys’ fees and costs of litigation, pursuant to 42

    U.S.C. §1988 or other applicable law; and such other relief as the court deems appropriate and

    just.



              PLAINTIFF DEMANDS A TRIAL BY JURY ON ALL CLAIMS


Dated: March 25, 2019                          Respectfully submitted,

                                               /s/ Laura Davis Jones
                                               Laura Davis Jones (DE Bar No. 2436)
                                               James I. Stang (CA Bar No. 94435)
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